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     Assistant U.S. Attorney
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4    Telephone: (916) 554-2731
5                               IN THE UNITED STATES DISTRICT COURT
6                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8    UNITED STATES OF AMERICA,                    )             CASE NO. CR.S-06-0199 EJG
                                                  )
9                          Plaintiff,             )
                                                  )             STIPULATION AND ORDER TO
10          v.                                    )             EXTEND TIME FOR
                                                  )             VOLUNTARY SURRENDER
11   JOSE SANDOVAL ACEVEDO,                       )             OF SENTENCED DEFENDANT
                                                  )
12                         Defendant              )
                                                  )
13                                                              NO HEARING REQUESTED
14          The United States hereby moves to extend the time for the above defendant to voluntarily
15   surrender to commence serving his sentence from Friday, September 21, 2007, to Thursday, October
16   4, 2007. The reason for the request is that the institution designation has not yet been made by the
17   Bureau of Prisons (at least as of the date of this motion) and the defendant has to complete one of the
18   terms of his plea agreement, which should take place earlier during the week of October 1st. It is
19   contemplated that the institution designation should take place by the new date. Defense counsel
20   Michael Bigelow, Esq., has joined in this request.
21   Dated: September 20, 2007
                                                  McGREGOR W. SCOTT
22                                                U.S. Attorney
23
                                                  by          /s/ Richard J. Bender
24                                                            RICHARD J. BENDER
                                                              Assistant U.S. Attorney
25
26                     ORDER CONTINUING VOLUNTARY SURRENDER DATE
27
            Upon consideration of the above motion, good cause having been show, it is hereby
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                                                          1
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1    ORDERED that the voluntary surrender date of defendant Jose Acevedo is continued to 1:00 p.m. on
2    Thursday, October 4, 2007. The defendant shall surrender himself at that date and time at the
3    institution designated by the U.S. Bureau of Prison, or, if no such institution has been designated, to
4    the U.S. Marshal’s Office for the Eastern District of California in the Fifth Floor of the U.S.
5    Courthouse at 501 I Street in Sacramento. A copy of this Order shall be served by the Clerk of the
6    Court on ths U.S. Marshal’s Office and the U.S. Attorney’s Office shall notify the Designation Center
7    of the U.S. Bureau of Prison of the change.
8
9    Dated: September 20, 2007                               /s/ Edward J. Garcia
                                                             EDWARD J. GARCIA
10                                                           Senior, U.S. District Judge
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